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                          IN THE UNITED STATES BANKRUPTCY COURT
                               FOR THE DISTRICT OF DELAWARE

-----------------------------------------------------------X
                                                           :
In re                                                      :               Chapter 11
                                                           :
Nortel Networks Inc., et al.,1                             :               Case No. 09-10138 (KG)
                                                           :
                                   Debtors.                :               Jointly Administered
                                                           :
                                                                           Hearing date: March 5, 2013 at 10:00 a.m. (ET)
                                                           :               Responses due: February 21, 2013 at 4:00 p.m. (ET)
-----------------------------------------------------------X

NOTICE OF DEBTORS’ TWENTY-NINTH OMNIBUS OBJECTION (SUBSTANTIVE)
  TO CERTAIN CLAIMS PURSUANT TO 11 U.S.C. § 502, FED. R. BANKR. P. 3007
   AND DEL. L.R. 3007-1 (NO-BASIS CLAIMS, MODIFY AND ALLOW CLAIMS,
 RECLASSIFY AND ALLOW CLAIMS, WRONG DEBTOR CLAIMS, REDUNDANT
  CLAIMS, AMENDED OR SUPERSEDED CLAIMS, NO-BASIS 503(b)(9) CLAIMS
                      AND NO-BASIS PENSION CLAIMS)
TO THE CLAIMANTS LISTED IN EXHIBITS A-C ATTACHED TO THIS
OBJECTION:

                  CLAIMANTS’ RIGHTS MAY BE AFFECTED BY THIS OBJECTION
                   AND BY ANY FUTURE OBJECTION(S) THAT MAY BE FILED BY THE
                   DEBTORS.

                  THE RELIEF SOUGHT HEREIN IS WITHOUT PREJUDICE TO THE
                   DEBTORS’ RIGHTS TO PURSUE FURTHER SUBSTANTIVE OR NON-
                   SUBSTANTIVE OBJECTIONS AGAINST THE CLAIMS LISTED IN
                   EXHIBITS A-C.

                  CLAIMANTS RECEIVING THIS OBJECTION SHOULD LOCATE
                   THEIR NAMES AND CLAIMS IN EXHIBITS A-C.

                  BY THIS OBJECTION, THE DEBTORS ARE NOT SEEKING TO
                   AFFECT ANY RIGHTS THAT CLAIMANTS HOLDING CLAIMS

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          The Debtors in these chapter 11 cases, along with the last four digits of each Debtor’s tax identification number, are:
Nortel Networks Inc. (6332), Nortel Networks Capital Corporation (9620), Nortel Altsystems Inc. (9769), Nortel Altsystems
International Inc. (5596), Xros, Inc. (4181), Sonoma Systems (2073), Qtera Corporation (0251), CoreTek, Inc. (5722), Nortel
Networks Applications Management Solutions Inc. (2846), Nortel Networks Optical Components Inc. (3545), Nortel Networks
HPOCS Inc. (3546), Architel Systems (U.S.) Corporation (3826), Nortel Networks International Inc. (0358), Northern Telecom
International Inc. (6286), Nortel Networks Cable Solutions Inc. (0567) and Nortel Networks (CALA) Inc. (4226). Addresses for
the Debtors can be found in the Debtors’ petitions, which are available at http://dm.epiq11.com/nortel.
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              LISTED IN EXHIBITS B AND C MAY HAVE TO PARTICIPATE IN
              DISTRIBUTIONS FROM THE PENSION BENEFIT GUARANTY
              CORPORATION WITH REGARDS TO THE NORTEL NETWORKS
              RETIREMENT INCOME PLAN.

                PLEASE TAKE NOTICE that the debtors and debtors-in-possession
(collectively, the “Debtors”) in the above-captioned cases, have today filed the attached
Debtors’ Twenty-Ninth Omnibus Objection (Substantive) to Certain Claims Pursuant to 11
U.S.C. § 502, Fed. R. Bankr. P. 3007 and Del. L.R. 3007-1 (No-Basis Claims, Modify and
Allow Claims, Reclassify and Allow Claims, Wrong Debtor Claims, Redundant Claims,
Amended or Superseded Claims, No-Basis 503(b)(9) Claims and No-Basis Pension Claims)
(“Objection”).

               PLEASE TAKE FURTHER NOTICE that any party wishing to oppose the entry
of an order approving the Objection must file a response or objection (“Response”) if any, to the
Motion with the Clerk of the United States Bankruptcy Court for the District of Delaware, 824
Market Street, 3rd Floor, Wilmington, Delaware 19801 on or before the objection deadline of
February 21, 2013 at 4:00 p.m. (Eastern Time) (the “Response Deadline”).

               At the same time, you must serve such Response on counsel for the Debtors so as
to be received by the Response Deadline.

           PLEASE TAKE FURTHER NOTICE THAT A HEARING ON THE
OBJECTION WILL BE HELD ON MARCH 5, 2013 AT 10:00 A.M. (EASTERN TIME)
BEFORE THE HONORABLE KEVIN GROSS AT THE UNITED STATES BANKRUPTCY
COURT FOR THE DISTRICT OF DELAWARE, 824 MARKET STREET, 6TH FLOOR,
COURTROOM #3, WILMINGTON, DELAWARE 19801. ONLY PARTIES WHO HAVE
FILED A TIMELY RESPONSE WILL BE HEARD AT THE HEARING.

          IF YOU FAIL TO RESPOND IN ACCORDANCE WITH THIS NOTICE, THE
COURT MAY GRANT THE RELIEF REQUESTED IN THE OBJECTION WITHOUT
FURTHER NOTICE OR HEARING.
Dated: February 5, 2013               CLEARY GOTTLIEB STEEN & HAMILTON LLP
       Wilmington, Delaware
                                      James L. Bromley (admitted pro hac vice)
                                      Lisa M. Schweitzer (admitted pro hac vice)
                                      One Liberty Plaza
                                      New York, New York 10006
                                      Telephone: (212) 225-3505
                                      Facsimile: (212) 225-3999

                                          - and –




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                              MORRIS, NICHOLS, ARSHT & TUNNELL LLP

                              /s/ Ann C. Cordo
                              Derek C. Abbott (No. 3376)
                              Eric D. Schwartz (No. 3134)
                              Ann C. Cordo (No. 4817)
                              Tamara K. Minott (No. 5643)
                              1201 North Market Street
                              P.O. Box 1347
                              Wilmington, Delaware 19801
                              Telephone: (302) 658-9200
                              Facsimile: (302) 658-3989

                              Counsel for the Debtors
                              and Debtors-in-Possession

6986852




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